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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




 In re Terrorist Attacks on September 11, 2001          03 MDL 1570 (GBD) (SN)




This document relates to:
Federal Insurance Co., et al. v. Al Qaida, et al., Case No. 03-cv-06978
Thomas Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., Case No. 03-cv-09849
Estate of John P. O’Neill, Sr., et al. v. Al Baraka, et al., Case No. 04-cv-01923
Continental Casualty Co., et al. v. Al Qaeda, et al., Case No. 04-cv-05970
Cantor Fitzgerald & Co., et al. v. Akida Bank Private Ltd., et al., Case No. 04-cv-07065
Euro Brokers, Inc. et al. v. Al Baraka, et al., Case No. 04-cv-07279


                        [PROPOSED] ORDER FOR ADMISSION
                      FOR PRO HAC VICE ON WRITTEN MOTION

       The motion of Justin D. Rattey for admission to practice Pro Hac Vice in the above-

captioned action is granted.

       Applicant has declared that he is a member in good standing of the bars of Maryland and

Washington, D.C.; and that his contact information is as follows:

                                       Justin D. Rattey
                                         JONES DAY
                                   51 Louisiana Ave., NW
                                 Washington, D.C. 20001-2113
                                  Telephone: (202) 879-3722
                                  Facsimile: (202) 626-1700
                                 Email: jrattey@jonesday.com


Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel for Dubai

Islamic Bank in the above-entitled action;
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         IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.



Dated:                                               ____________________________________
         New York, New York                          Sarah Netburn
                                                     United States Magistrate Judge




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